    Case 2:14-cv-03873-GJP      Document 46 Filed 02/10/16 Page 1 of 14
           case 2:16-cv-00242-ER Document 1-1 Filed 01/19/16 Page 1of14




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/                 ~R                                          ~
                   ;"'1flr!J...




           UNITED STATES DISTRICT COURT
           EAS'l'ERN DISTRICT OF PENNSYLVANIA
           Troy Lamont Moore, sr.


                                                                                               I 4--3-~73
              (Jn the space above enter the foll name(s) ofthe p!C1intiff(s))
                                                                                                 '6                9 94 2
                                            ·against··
           Cor.rections Officer s. Walton,
                                                                                              COMPLAINT
           ~-_:             ___
           Industrial Correctional Center
                                        ,                                                           under the
                                                                                       Civil Rights Act, 42 U.S.C. § l 983
           8301 state Road.. Philade!~""''-':B'-"a"----                                       (Prisoner Complaint)
           19136
                                                                                                         I
                                                                                          JuryTrial; ~Yes          D No
                                                                                                             (check one)




      ?in ;he ;p;,ce above enter the ji11/ 11ame{.r) ofthe defendant(s} . .({you
      connotfit the names <-~fa!! qfihe defemlanrs in the space provided,
      please write · ·sl!e bt1ad1ed" i111he space above and attach an
      addiritma/ shter ofpaper with 1heji1ll list qfnames. The names
      listed in the above f.'tJption must be ideurica! !¢ rho.se conrained in
      Perri l Adtlri?liS.•> should nat be included i/ereJ


      I.          Parties in this complaint:

      A.          List your name, identification number, and the name and address of your current place of
                  confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
                  as necessary.

      Plaintiff                   Name      Troy Lamont Moore, Sr.
                                  ID#      Fe-2483
                                  Current Institution SCI-Forest
                                  Address      P.O. Box 945, Marienvi.lle, Pa 16239-0945



     Rev. 10/2009
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 2Page
                                                     02/10/16     of 14 2 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 3Page
                                                     02/10/16     of 14 3 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 4Page
                                                     02/10/16     of 14 4 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 5Page
                                                     02/10/16     of 14 5 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 6Page
                                                     02/10/16     of 14 6 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 7Page
                                                     02/10/16     of 14 7 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 8Page
                                                     02/10/16     of 14 8 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                         46 Filed 01/19/16
                                              Filed        Page 9Page
                                                     02/10/16     of 14 9 of 14
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                        46 Filed 01/19/16
                                             Filed        Page 10
                                                    02/10/16      of 1410 of 14
                                                               Page
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                        46 Filed 01/19/16
                                             Filed        Page 11
                                                    02/10/16      of 1411 of 14
                                                               Page
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                        46 Filed 01/19/16
                                             Filed        Page 12
                                                    02/10/16      of 1412 of 14
                                                               Page
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                        46 Filed 01/19/16
                                             Filed        Page 13
                                                    02/10/16      of 1413 of 14
                                                               Page
       Case 2:16-cv-00242-ER Document
Case 2:14-cv-03873-GJP        Document 1-1
                                        46 Filed 01/19/16
                                             Filed        Page 14
                                                    02/10/16      of 1414 of 14
                                                               Page
